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                      EXHIBIT 1
            FILED UNDER SEAL
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  THE STATE OF TEXAS, et al.,                     §
                                                  §
          Plaintiffs,                             §
  v.                                              §      Civil Action No. 4:20-cv-00957-SDJ
                                                  §
  GOOGLE LLC,                                     §
                                                  §
          Defendant.                              §

         DECLARATION OF                 IN SUPPORT OF GOOGLE LLC’S
       OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL WRITTEN DISCOVERY

         I,              , pursuant to 28 U.S.C. § 1746, hereby declare as follows:

         1.      I am employed by KPMG LLP as a Director, Forensic Technology.                  My

 responsibilities include managing and advising clients on all aspects of eDiscovery, including the

 collection, processing, and production of data. In the course of my responsibilities as an external

 consultant to Google, I am familiar with the processes by which Google collects and produces

 documents stored on its systems in discovery and with the tools available to facilitate collection

 and production.

         2.      I respectfully submit this declaration in support of Google’s Opposition to

 Plaintiffs’ Motion to Compel Written Discovery in The State of Texas v. Google LLC, No.

 4:20-cv-00957-SDJ (E.D. Tex.) (the “Opposition Brief”). I understand that the Opposition Brief

 relates in part to Plaintiffs’ request for additional written discovery concerning Google’s

 retention of Chat messages.

         3.      The contents of this declaration are true and correct to the best of my knowledge,

 information, and belief, and are based on my personal knowledge of Google’s discovery

 processes, and a reasonable inquiry into the issues arising in this matter, informed by


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 conversations with my counterparts at Google. I am competent to testify to the matters set forth

 herein.

           4.    Google Vault exports each email that is sent or received as a separate document.

 Under the governing ESI Order in this case, parties are not permitted to produce only the latest in

 time email but must also produce “lesser included” emails. See ECF No. 183 at III(6). This

 means that, in the case of an email chain, parties must produce each successive email in the chain

 to the extent that it is in their possession, custody or control.

           5.    Unlike emails, Google Vault exports communications from Google Chat as

 “conversations” which may contain multiple individual messages between and among Chat

 participants in a single document. The sending or receipt of an individual Chat message does not

 necessarily lead to the export or production of a separate document. A single exported Chat

 conversation can contain hundreds or thousands of individual Chat messages.

           6.    The individual messages that comprise the conversation are not stored as separate

 component messages.

           7.    To calculate the number of individual messages in a conversation, my colleagues

 and I deployed an automated script that identifies and counts the number of individual messages

 within a conversation. The script can be run over populations of Chat conversations to calculate

 the number of individual messages in the population of Chat conversations.

           8.    Across the agreed custodians in this case, Google produced a total of 8,705 Chat

 conversations from within the date range September 9, 2019 to February 7, 2023. By deploying

 that automated script, I determined that there are approximately 470,410 individual messages in

 the populations of Chat conversations produced by Google in that same date range. Google

 produced approximately 1,029,599 emails in that same date range.




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        9.      Across the agreed custodians in this case, Google collected at least 650,000 Chat

 conversations within the date range September 9, 2019 to February 7, 2023. We have yet to

 deploy the automated script over that population, but based on the results described in paragraph

 8 above I expect that population will yield millions of individual messages.



        I declare under penalty of perjury that the foregoing is true and correct.

        Executed on the 5th of July, 2024, in Chicago, Illinois.




                                                  3
